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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:
Case No. 22-11068 (JTD)
FTX TRADING LTD, ez. ai.,'
(Jointly Administered)

Debtors.
Hearing Date: Only if objections are filed
Objections Due: February 27, 2023 at 4:00 p.m. (ET)

FIRST MONTHLY FEE STATEMENT OF ALIXPARTNERS, LLP, FORENSIC
INVESTIGATION CONSULTANT TO THE CHAPTER 11 DEBTORS AND
DEBTORS-IN-POSSESSION, FOR COMPENSATION FOR PROFESSIONAL SERVICES
RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
THE PERIOD FROM NOVEMBER 28, 2022 THROUGH DECEMBER 31, 2022

Name of Applicant: ALIXPARTNERS, LLP

Authorized to provide professional services to: The Debtors and Debtors-in-Possession

January 20, 2023 nunc pro tunc to

Dateotl Remnton: November 28, 2022 [Docket No. 546]

Period for which compensation

anit rein bursenicat ie Houeht November 28, 2022 through December 31, 2022

Amount of compensation sought as actual,

reasonable and necessary: SI L053 1925

80% of Compensation sought as actual,

$882,703.40 (80% of $1,103,379.25)
reasonable and necessary:

Amount of Expense Reimbursement sought as
actual, reasonable and necessary:

This is a(n): 4 Monthly O Interim O Final application

$21,288.04

The total time expended for fee application preparation is approximately 1.6 hours and the
corresponding compensation requested is approximately $963.50.

‘The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and 4063
respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the

last four digits of their federal tax identification numbers is not provided herein. A complete list of such information may
be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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ALIXPARTNERS, LLP

SUMMARY OF MONTHLY FEE STATEMENTS

Date Filed; Period Requested Paid Certificate of Amount
Docket No. ce Fees Expenses Fees Expenses | No Objection | Outstanding
ee |e $ 1,103,379.25 | $ 21,288.04 $ 1,124,667.29

Docket #N/A | 12/31/2022

Total $ 1,103,379.25 | $ 21,288.04 | $ : $ :

$1,124,667.29

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SUMMARY OF HOURS AND FEES BY PROFESSIONAL
FROM NOVEMBER 28, 2022 THROUGH DECEMBER 31, 2022

ALIXPARTNERS, LLP

Professional Title Rate Hours Fees
Matthew Jacques Managing Director $1,220 45.1 55,022.00
Matthew Evans Managing Director $1,160 55.6 64,496.00
Charles Cipione Managing Director $1,160 92.7 107,532.00
David J. White Managing Director $1,085 127.3 138,120.50
David Waterfield Director $945 10.2 9,639.00
John C. LaBella Director $945 128.0 120,960.00
Adam Searles Director $880 82.8 72,864.00
Justin Sutherland Director $880 79.9 70,312.00
Lilly M. Goldman Director $880 57.1 50,248.00
Brent Robison Director $880 30.2 26,576.00
Todd Toaso Director $880 5.4 4,752.00
Travis Phelan Director $880 52.9 46,552.00
Dana Schwartz Director $840 136.5 114,660.00
Elizabeth S. Kardos Director $750 15.7 11,775.00
Hoyle J. Fulbright Senior Vice President $795 11.9 9,460.50
Bennett F. Mackay Senior Vice President $700 41.5 29,050.00
Ezra Roth Senior Vice President $700 8.8 6,160.00
Kristina Galbraith Senior Vice President $700 2.4 1,680.00
Vaibhav Asher Senior Vice President $700 43.8 30,660.00
Joseph Demyanovich Senior Vice President $670 6.3 4,221.00
Kaitlyn A. Sundt Senior Vice President $550 45.5 25,025.00
Varun Kotharu Vice President $555 57.0 31,635.00
Aidan Walker Vice President $510 1.8 918.00
Elizabeth Teifer Vice President $510 57.6 29,376.00
Brooke Filler Vice President $485 60.9 29,536.50
Lisa Marie Bonito Vice President $475 4.1 1,947.50
Chenxi Xu Consultant $455 45.5 20,702.50
Yugqing Tong Consultant $455 34.3 15,606.50
Total Hours and Fees for Professionals 1,340.8 1,129,487.00
Less: 50% Travel Fees (26,107.75)
Total Fees for Professionals 1,103,379.25
Less: 20% Holdback (220,675.85)
Total Fees for Professionals 882,703.40
Average Billing Rate 822.93

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ALIXPARTNERS, LLP

SUMMARY OF HOURS AND FEES BY MATTER CATEGORY?
FROM NOVEMBER 28, 2022 THROUGH DECEMBER 31, 2022

Code Matter Category Hours Fees
1.1 Chapter 11 Process / Case Management 192.3] $ 176,989.00
1.2 Communication & Meetings with Interested Parties 88.1 90,660.50
13 Communication with Regulatory Parties - -
1.4 U.S. Trustee / Court Reporting Requirements - -
1.5 Forensic Analysis 293.2 255,558.50
1.6 Document Review 221.8 190,780.00
L7 Interviews - -
1.8 Public Data & Research 49.9 48,889.00
1.9 Claims Process - -
1.10 E-Discovery 188.4 128,948.00
1.11 Reporting & Presentation of Findings 132.5 115,193.00
1.12 Preparation for / Attend Court Hearings - -
1.13 Retention Applications & Relationship Disclosures 121.3 69,290.00
1.14 Fee Applications 1.6 963.50
1.15 Financial Statement Reconstruction - -
1.31 Travel Time 51.7 26,107.75
Total Hours and Fees By Matter Category 1,340.8 | $ 1,103,379.25
Average Billing Rate $ 822.93

2 The subject matter of certain time entries may be appropriate for more than one matter category. In such instances, time
entries generally have been included in the most appropriate category. Time entries do not appear in more than one

category.
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ALIXPARTNERS, LLP
SUMMARY OF EXPENSES
FROM NOVEMBER 28, 2022 THROUGH DECEMBER 31, 2022
Expense Category Amount
Airfare $ 8,690.78
Ground Transportation 2,654.65
Internet 92:95
Lodging 8,639.34
Meals 805.20
Parking & Tolls 288.00
Subscriptions 117.12
Total Expenses $ 21,288.04

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
FTX TRADING LTD., et. al.,' Case No. 22-11068 (JTD)
Debtors. (Jointly Administered)

Hearing Date: Only if objections are filed
Objections Due: February 27, 2023 at 4:00 p.m. (ET)

FIRST MONTHLY FEE STATEMENT OF ALIXPARTNERS, LLP, FORENSIC
INVESTIGATION CONSULTANT TO THE CHAPTER 11 DEBTORS AND
DEBTORS-IN-POSSESSION, FOR COMPENSATION FOR PROFESSIONAL SERVICES
RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
THE PERIOD FROM NOVEMBER 28, 2022 THROUGH DECEMBER 31, 2022

AlixPartners, LLP (“AlixPartners”), as forensic investigation consultant to the above-

captioned debtors and debtors-in-possession (collectively, the “Debtors”), hereby submits its first

monthly fee statement (the “Monthly Fee Statement”) for allowance of compensation for professional

services rendered and reimbursement of out-of-pocket expenses incurred for the period from
November 28, 2022 through December 31, 2022 (the “Fee Period”). AlixPartners respectfully states
as follows:

Jurisdiction and Venue

Li The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant

1 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and 4063
respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the

last four digits of their federal tax identification numbers is not provided herein. A complete list of such information may
be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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to 28 U.S.C. § 157(b)(2).
2. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
Relief Requested
3s The bases for the relief requested herein are Sections 330 and 331 of Title 11 of the

United States Bankruptcy Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-2 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local
Rules”), the United States Trustee Guidelines for Reviewing Applications for Compensation and
Reimbursement of Expenses Filed Under 11 U.S.C. § 330, adopted June 11, 2013 (the “U.S. Trustee
Guidelines”) and the Order Establishing Procedures for Interim Compensation and Reimbursement

of Expenses of Professionals [Docket No. 435] (the “Interim Compensation Order”).

Background

4. On November 11 and November 14, 2022 (as applicable, the “Petition Date”), the

Debtors each filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code, thereby

commencing the above-captioned chapter 11 cases (the “Chapter 11 Cases”) in this Court.

5. Joint administration of the Chapter 11 Cases was authorized by the Court by entry of
an order on November 22, 2022 [D.I. 128].

6. No trustee or examiner has been appointed in these Chapter 11 Cases.

ih On December 15, 2022, the Office of the United States Trustee for the District of
Delaware (the “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors (the
“Committee”) [Docket No. 231].

8. On December 21, 2022, the Debtors filed their Application for an Order Authorizing

the Retention and Employment of AlixPartners, LLP as Forensic Investigation Consultant to the

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Debtors Nunc Pro Tunc to November 28, 2022 [Docket No. 277].
9. On January 20, 2023, the Court entered the Order Authorizing the Retention and
Employment of AlixPartners, LLP as Forensic Investigation Consultant to the Debtors Nunc Pro Tunc

to November 28, 2022 [Docket No. 546] (the “Retention Order”).

10. The Retention Order approved the terms of AlixPartners’ hourly fee and expense
structure set forth in the engagement letter dated November 28, 2022 (the “Engagement Letter”) and
authorized AlixPartners to be compensated and reimbursed pursuant to section 327 of the Bankruptcy
Code in accordance with the terms of the Engagement Letter, subject to the procedures set forth in the
Bankruptcy Code, Bankruptcy Rules, Local Rules, U.S. Trustee Guidelines and the Interim
Compensation Order, and any other applicable orders of this Court.

11. Pursuant to the Engagement Letter, Matthew Evans is the Partner & Managing Director
responsible for this engagement, assisted by a staff of consultants at various levels with a wide range
of relevant skills and abilities.

12. The Interim Compensation Order provides that upon the expiration of the objection

deadline (the “Objection Deadline”), a professional may file a certificate of no objection (a “CNO”)

with the Court with respect to any professional fees and out-of-pocket expenses not subject to
objection. After a professional files a CNO, the Debtors are authorized to pay the professional 80%
of the fees and 100% of the expenses not subject to an objection that are requested in the applicable
Monthly Fee Application.

Fees and Expenses During the Fee Period

Ta: During the Fee Period, AlixPartners provided an aggregate of 1,340.8 hours of
professional services in the amount of $1,103,379.25 and incurred out-of-pocket expenses in the
amount of $21,288.04. After applying a 20% holdback of fees in the amount of $220,675.85,

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AlixPartners seeks payment of 80% of fees for services rendered in the amount of $882,703.40 and
100% of expenses incurred in the amount of $21,288.04, for a total payment of $903,991.44 for the
Fee Period.

14. A detailed itemization, by matter category, of all services performed by AlixPartners
with respect to the Chapter 11 Cases during the Fee Period is attached hereto as Exhibit A. This
detailed itemization complies with Local Rule 2016-2 in that each time entry contains a separate time
allotment, a description of the type of activity and the subject matter of the activity, all time is billed
in increments of one-tenth (1/10) of an hour, time entries are presented chronologically in categories,
and all meetings or hearings are individually identified. All services for which AlixPartners requests
compensation were performed for, or on behalf of, the Debtors.

15. A detailed list of the out-of-pocket expenses incurred during the Fee Period are attached
hereto as Exhibit B.

16. In accordance with section 330 of the Bankruptcy Code, AlixPartners seeks
reimbursement only for the actual cost of such expenses to AlixPartners. AlixPartners submits that
all such expenses incurred were customary, necessary and related to the Chapter 11 Cases and, by
this Monthly Fee Statement, requests reimbursement of the same.

Summary of Services Rendered During the Fee Period

17. During the Fee Period, AlixPartners has conducted investigative inquiries and assisted
the Debtors with (i) communications and meetings with stakeholders and their representatives; (ii)
engaging in forensic analysis of financial and accounting data, trading records, and other associated
data to determine intercompany loans, conduct liability analysis, and aid asset recovery efforts; (iii)
review and analysis of Debtors’ historical organizational documents, policies and procedures, and
internal electronical communications; (iv) research into public data of crypto markets, asset pricing,

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and other information regarding crypto exchanges and market participants; (v) collecting and
structuring financial and accounting data to aid with forensic investigation efforts; (vi) prepare
summaries from forensic investigation efforts aimed at asset recovery; and (vii) analysis of available
structured and unstructured financial data to support construction of historical quarterly financial data
for Debtor entities.

Services By Category Provided During the Fee Period

18.  AlixPartners classified the services performed into separate categories. The
descriptions below summarize the services provided by AlixPartners to the Debtors during the Fee
Period.

Matter Code 1.1: Chapter 11 Process/Case Management
192.3 hours - $176,989.00
e Organized and managed the Debtors’ resources to effectively and efficiently plan,
coordinate and manage the Chapter 11 process
e Reviewed and maintained dockets and case calendars
e Held working sessions to keep the engagement team informed of the latest case
developments, remain aligned on the many workstreams, verify that resources are
properly allocated to meet deadlines, and ensure all matters and issues are
addressed in an efficient and timely manner

Matter Code 1.2: Communication & Meetings with Interested Parties
88.1 hours - $90,660.50
e Met and communicated with, and prepared summaries for, various other Debtor
professionals and/or their advisors, the U.S. Trustee, and other parties in interest

Matter Code 1.5: Forensic Analysis
293.2 hours - $255,558.50
e Reviewed and analyzed financial data including, but not limited to, bank records,
trading records, accounting or finance documents, and other data related to assets
e Traced cryptocurrency tokens and other digital assets on and off blockchains
e Analyzed smart tokens or DeFi products
e Conducted forensic analysis of digital artifacts and devices

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Matter Code 1.6: Document Review
221.8 hours - $190,780.00
e Reviewed documents including, but not limited to, memoranda, electronic
communications (emails, instant messages, etc.), reports, policies and procedures

Matter Code 1.8: Public Data & Research
49.9 hours - $48,889.00
e Obtained, reviewed and analyzed publicly available data sources including but
not limited to crypto markets, asset pricing, trading volume, contract
specifications and information regarding crypto exchanges and market
participants

Matter Code 1.10; E-Discovery
188.4 hours - $128,948.00
e Collected, processed and organized data
e Communicated and coordinated with Debtors’ counsel regarding search terms,
document review processes, privilege review and deadlines
e Prepared requested documents for production in discovery

Matter Code 1.11: Reporting & Presentation of Findings
132.5 hours - $115,193.00

e Prepared and reviewed summaries from forensic investigation efforts
e Prepared oral presentations of findings
e Presented investigative findings

Matter Code 1.13: Retention Application & Relationship Disclosures
121.3 hours - $69,290.00
e Drafted AlixPartners’ retention application, proposed orders and declarations
e Analyzed relationship disclosures required by the Bankruptcy Code
e Communications regarding AlixPartners’ retention
e Responded to inquiries from the U.S. Trustee regarding AlixPartners’ retention

Matter Code 1.14: Fee Statements & Fee Applications
1.6 hours - $963.50
e Managed the fee application process in accordance with requirements of the U.S.
Trustee and/or the Court.
e Drafted fee application

Matter Code 1:31: Travel Time
51.7 hours - $26,107.75
e ‘Traveled to meetings outside of consultants’ respective “home” office region
(Hours billed under this category were billed at 50% of AlixPartners’ standard
rates)

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19. AlixPartners believes that the fees and out-of-pocket expenses requested are
reasonable, actual and for necessary services rendered or expenses incurred on behalf of the Debtors
during the Fee Period.

20. AlixPartners has not entered into any agreement, express or implied, with any other
party for the purpose of fixing or sharing fees or other compensation to be paid for professional
services rendered in these Chapter 11 Cases. No promises have been received by AlixPartners or any
member thereof as to compensation in connection with these Chapter 11 Cases other than in
accordance with the provisions of the Bankruptcy Code.

Certification

21. A Certification of Matthew Evans is attached hereto as Exhibit C and incorporated
herein. Matthew Evans certifies that he has reviewed the requirements of Local Rule 2016-2 and that
the Monthly Fee Statement substantially complies with such rule.

Notice and No Prior Request

22. Notice of this Monthly Fee Statement has been given to the following parties or, in lieu
of, to their counsel, if known: (a) the U.S. Trustee; (b) the Official Committee of Unsecured Creditors;
and (c) all parties required to be given notice in the Interim Compensation Order. AlixPartners submits
that no other or further notice is necessary.

23. No prior request for the relief sought in this Monthly Fee Statement has been made to

this or any other Court.
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Conclusion
WHEREFORE, AlixPartners, as forensic investigation consultant to the Debtors, respectfully
requests: (i) an interim allowance of compensation for professional services in the amount of
$1,103,379.25 and reimbursement of out-of-pocket expenses in the amount of $21,288.04 for the Fee
Period; (ii) that, upon the expiration of the Objection Deadline and entry of a CNO, the Debtors are
authorized to pay AlixPartners fees in the amount of $882,703.40 (80% of $1,103,379.25) and 100%
of out-of-pocket expenses in the amount of $21,288.04, for a total amount of $903,991.44; and (iii)
such other and further relief as this Court deems proper.
Dated: February 7, 2023 ALIXPARTNERS, LLP

909 Third Avenue, 28" Floor
New York, New York 10022

/s/ Matthew Evans
By: Matthew Evans
Partner & Managing Director

